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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                    Plaintiff,

 v.                                                  Case No. 20-cr-20162
                                                     Honorable Linda V. Parker
 D-2 RAEF HAMAED, R.PH.,
 D-3 TAREK FAKHURI, R.PH.,
 D-4 KINDY GHUSSIN, R.PH., and
 D-6 ALI ABDELRAZZAQ, R.PH.,

                Defendants.
 ________________________________/

      OPINION AND ORDER REGARDING DEFENDANTS’ MOTIONS FOR
            JUDGMENT OF ACQUITTAL AND FOR NEW TRIAL

        On September 5, 2024, following a multi-week trial, a jury found

 Defendants Raef Hamaed, Tarek Fakhuri, Kindy Ghussin, and Ali Abdelrazzaq

 (collectively “Defendants”) guilty of one count of conspiracy to commit health

 care fraud and wire fraud in violation of 18 U.S.C. § 1349. The jury also found

 Fakhuri and Abdelrazzaq guilty of individual counts of health care fraud in

 violation of 18 U.S.C. §§ 1347 and 2.

        Since the jury’s verdict, Defendants have presented oral and/or written

 motions for judgment of acquittal pursuant to Federal Rule of Criminal Procedure

 29 and for a new trial pursuant to Federal Rule of Criminal Procedure 33. (See

 Text Entry 9/5/24; ECF Nos. 302-08.) Fakhuri also filed supplemental briefs in
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 support of his motions. (See ECF No. 310-11.) The Government filed a response

 to Defendants’ motions (ECF No. 313), and Fakhuri and Abdelrazzaq filed reply

 briefs (ECF Nos. 314-16). For the reasons below, the Court is denying the motions

 filed by Hamed, Fakhuri, and Ghussin and is granting in part and denying in part

 the motions filed by Abdelrazzaq.

                                 Applicable Standards

              Motion for Judgment of Acquittal Pursuant to Rule 29

       The Sixth Circuit has described the standard for granting a Rule 29 motion

 for judgment of acquittal as a “demanding” one, United States v. Brooks, 987 F.3d

 593, 601 (6th Cir. 2021), which imposes a “very heavy burden” on the defendant,

 United States v. Robinson, 99 F.4th 344, 354 (6th Cir. 2024) (quoting United States

 v. Emmons, 8 F.4th 454, 478 (6th Cir. 2021)). The defendant must show that “no

 rational trier of fact could have found the essential elements of the crime beyond a

 reasonable doubt.” Brooks, 987 F.3d at 601 (citing United States v. Maya, 966

 F.3d 493, 498 (6th Cir. 2020)).

       When deciding a Rule 29 motion, the court “do[es] not weigh the evidence

 presented, consider the credibility of witnesses, or substitute [its] judgment for that

 of the jury.” Robinson, 99 F.4th at 353 (quoting United States v. Jackson, 470 F.3d

 299, 309 (6th Cir. 2006)). Instead, it “must ‘draw all available inferences and

 resolve all issues of credibility in favor of the jury’s verdict.’” Id. (quoting

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 Jackson, 470 F.3d at 309). The evidence can be direct or circumstantial, and “need

 not remove every reasonable hypothesis except that of guilt.” United States v.

 Humphrey, 279 F.3d 372, 378 (6th Cir. 2002) (citations omitted); see also

 Robinson, 99 F.4th at 354 (quoting United States v. LaVictor, 848 F.3d 428, 456

 (6th Cir. 2017)).

                     Motion for New Trial Pursuant to Rule 33

       Rule 33 grants trial courts the discretion to “vacate any judgment and grant a

 new trial if the interest of justice so requires.” Fed. R. Crim. P. 33(a). “The rule

 ‘does not define interest of justice and the courts have had little success in trying to

 generalize its meaning.’” Robinson, 99 F.4th at 367 (quoting United States v.

 Munoz, 605 F.3d 359, 373 (6th Cir. 2010)). However, “several themes have

 emerged” from Sixth Circuit caselaw:

       The paradigmatic use of a Rule 33 motion is to seek a new trial on the
       ground that the jury’s verdict was against the manifest weight of the
       evidence. It is also widely agreed that Rule 33’s “interest of justice”
       standard allows the grant of a new trial where substantial legal error
       has occurred.

 Id. (cleaned up).

       With respect to the first scenario, the Sixth Circuit has advised that Rule 33

 “authorizes a district court to order a new trial if the evidence weighs ‘heavily

 against the verdict.’” United States v. Burks, 974 F.3d 622, 625 (6th Cir. 2020)

 (quoting United States v. Bowens, 938 F.3d 790, 796 (6th Cir. 2019)); United

                                            3
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 States v. Sears, -- F.4th --, 2023 WL 395024, at *4 (6th Cir. 2023) (quoting United

 States v. Hughes, 505 F.3d 578, 592-93 (6th Cir. 2007)) (providing that Rule 33

 “motions are granted only ‘in the extraordinary circumstance where the evidence

 preponderates heavily against the verdict’”). Before granting a Rule 33 motion

 under this scenario, however, the court must balance two “competing principles.”

 Burks, 974 F.3d at 625. “On the one hand, it must scrutinize the record and ensure

 that a ‘miscarriage of justice’ did not occur.” Id. (quoting United States v. Lutz,

 154 F.3d 581, 589 (6th Cir. 1998)). “On the other hand, the court must respect the

 role of the jury and ensure that evidence-supported convictions are upheld.” Id.

 (citing Lutz, 154 F.3d at 589).

       The Sixth Circuit also has advised that trial courts should grant new trials

 “[o]nly in extraordinary circumstances,” and “when the verdict exceeds the bounds

 of reasonableness[.]” Burks, 974 F.3d at 622 (citations omitted). “The verdict is

 not unreasonable simply because different inferences could have been drawn or

 because other results are more reasonable.” Id. (brackets omitted) (quoting United

 States v. Lyimo, 574 F. App’x 667, 672 (6th Cir. 2014)). In comparison to a Rule

 29 motion, however, the “district court may act as a thirteenth juror, weighing the

 evidence and deciding if the witnesses [were]e credible.” Sears, 2023 WL 395024,

 at *4 (citing United States v. Hughes, 505 F.3d at 592-93); United States v.

 Mallory, 902 F.3d 584, 596 (6th Cir. 2018) (citing Hughes, 505 F.3d at 593).

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       It is the defendant’s burden to prove the need for a new trial, and the Sixth

 Circuit has indicated that such motions “should be granted sparingly and with

 caution.” United States v. Turner, 995 F.2d 1357, 1364 (6th Cir. 1993).

                              Arguments & Analysis

       Sufficiency of the Evidence - Individual Health Care Fraud Counts

       The Indictment charged Fakhuri and Abdelrazzaq, as well as their indicted

 co-conspirator Hassan Abdallah, with individual counts of health care fraud in

 violation of 18 U.S.C. § 1347 (Counts Two through Nine). Specifically, Abdallah

 was charged with three counts of health care fraud at Eastside Pharmacy, Inc.

 (hereafter “Eastside”) (Counts Two through Four). 1 Fakhuri was charged with two

 counts of health care fraud at Harper Drugs, Inc. (hereafter “Harper Drugs”)

 (Counts Five and Six). Abdelrazzaq was charged with three counts of health care

 fraud at Wayne Campus Pharmacy LLC (hereafter “Wayne Campus”) (Counts

 Seven through Nine).

       After the close of the Government’s case, the Court granted Fakhuri’s

 motion for judgment of acquittal as to Count Six. The jury then found

 Abdelrazzaq not guilty as to Count Nine, but found Fakhuri guilty of Count Five


 1
  In exchange for Abdallah’s guilty plea to Count One of the Indictment, charging
 conspiracy to commit health care fraud, the Government dismissed the individual
 health care fraud charges against him. (See ECF No. 80.)


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 and Abdelrazzaq guilty of Counts Seven and Eight. Abdelrazzaq has moved for

 judgment of acquittal and a new trial with respect to the counts for which he was

 found guilty. 2

       Counts Seven and Eight of the Indictment charge Abdelrazzaq with billing

 Medicaid or Medicare for prescriptions filled at Wayne Campus for patients

 Richard Weaver (Count Seven) and Michael Higgins (Count Eight) after they had

 died. There was sufficient evidence for the jury to conclude that the prescriptions

 were filled and billed to Medicare or Medicaid after Weaver’s and Higgins’ deaths,

 and not reversed. 3 Abdelrazzaq argues, however, that the Government did not


 2
   While Fakhuri mentions Count 5 in his initial motion for judgment of acquittal
 (see ECF No. 302), he presents no arguments in support of the motion. Similarly,
 after the close of the Government’s case, he brought a Rule 29 motion with respect
 to Count 5, but offered no arguments in support. (ECF No. 279 at PageID. 4443.)
 Fakhuri mentions Count 5 again in his supplemental brief in support of his Rule 33
 motion, but only with respect to his Confrontation Clause argument. (See ECF No.
 311 at PageID. 5464-66.) In short, he has never argued that there was insufficient
 evidence to support his health care fraud conviction. The Government asserts in its
 response brief that Fakhuri therefore has waived any request for relief with respect
 to this count. (See ECF No. 313 at PageID. 5486.) The Court agrees as to any
 sufficiency of the evidence argument. See United States v. Catalan, 499 F.3d 604,
 606 (6th Cir. 2007) (“We require parties to develop their arguments in a non-
 perfunctory manner at the risk of having them deemed waived.”). The Court
 addresses the Confrontation Clause argument below.
 3
   Reviewing the introduced Medicare claims data for Wayne Campus (Gov’t Ex.
 123A), FBI Special Agent Ian McDonald testified that the service date for
 Weaver’s prescription (i.e., the date it was billed to insurance) was October 28,
 2015. (ECF No. 278 at PageID. 4205, 4209.) According to Government Exhibit
 1011, Weaver passed away on October 2, 2015. (ECF No. 278 at PageID. 4204.)
 (cont’d)
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 present sufficient evidence for the jury to find him responsible for that fraudulent

 billing.

        To find Abdelrazzaq guilty, the jury did not have to find that he filled the

 particular prescriptions for Weaver and Higgins. This is because the fraudulent

 conduct was the failure to reverse the claims submitted to Medicare and Medicaid

 when the prescriptions were not picked up by or for these patients. The

 Government asserts that there was sufficient evidence to show that Abdelrazzaq, as

 the pharmacist in charge (“PIC”) at Wayne campus, was responsible for or

 exclusively handled reversing insurance charges for uncollected prescriptions.

        The Government submits that the testimony of Express Scripts employee

 Blake Stockwell and former Harper Drugs pharmacy technician Rafi Rahman

 showed that the role of the PIC is to ensure the pharmacy operates in compliance

 with applicable rules and regulations, including reversing insurance charges when

 prescriptions are not picked up by patients. (See ECF No. 313 at PageID. 5488

 (citing ECF No. 273 at PageID. 3811; ECF No. 279 at PageID. 4383).) To show

 the role of Abdelrazzaq at Wayne Campus, specifically, the Government points to



 Reviewing the Medicaid claims data for Wayne Campus (Gov’t Ex. 124), the
 service date for Higgins’ prescription was January 9, 2016. (ECF No. 278 at
 PageID. 4203.) According to Government Exhibit 1010, Higgins passed away on
 December 23, 2015. (See id. at PageID. 4202.)


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 the testimony of Harold Jordan, a pharmacy technician who worked there from

 2013-2020. (Id. (citing ECF No. 273 at PageID. 3745-46).)

       Stockwell testified to the requirements for pharmacies to comply with

 applicable rules and regulations and provided that the PIC “is kind of responsible

 for the day-to-day operations” and “mak[ing] sure things are happening

 appropriately.” (See ECF No. 273 at 3796, 3811.) Rahman explained how

 reversals were handled specifically at Harper Drugs; and he provided that, when

 Fakhuri was working there, it was Fakhuri’s responsibility, not the pharmacy

 technician’s, to process reversals. (See ECF No. 279 at PageID. 4385-86.)

 Rahman did not testify to ever working at Wayne Campus or with Abdelrazzaq.

 Thus, his testimony failed to show how or who handled the reversal process there.

 Jordan was the only witness offered with respect to those issues.

       Jordan’s testimony did not establish that only Abdelrazzaq handled or was

 responsible for handling reversals at Wayne Campus, or that it was Abdelrazzaq

 who failed to reverse the Medicare or Medicaid billings charged in Counts Seven

 and Eight. The Government focuses on Jordan’s testimony concerning a “push

 cart” in the pharmacy, and Abdelrazzaq’s indication “to leave it for him” (ECF No.

 273 at PageID. 3745-46)—which the Government asserts were prescriptions

 placed on the push cart after patients had not timely picked them up. However,

 that is not supported by the testimony.

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       During Jordan’s direct examination, the Government asked him to explain

 the process for filling prescriptions. (Id. at PageID. 3744.) Jordan provided, in

 part, that once the pharmacy technician placed the medications in vials, the vials

 were placed on the pharmacist’s desk for verification and then typically placed in

 alphabetized bins. (Id.) When asked if there were any prescriptions Abdelrazzaq

 did not place in the bins, the following exchange followed:

       A. If -- yeah, if it was someone that he knew, I want to say, or he
       knows that they’ll come at a certain time, he would put it to the side.

       Q. Okay. When you say he would put it to the side, is there any
       particular place he would put those prescriptions?

       A. On a basket, a silver basket, look [sic] like a push cart.

       Q. A silver basket, looks like a, I’m sorry, a what cart?

       A. A push cart.

 (Id. at PageID. 3744-45.) The Government then asked Jordan what happened to

 filled prescriptions that were not picked up by patients:

       A. We did a return.

       Q. Could you talk to us about how the return process works?

       A. We go back to the computer and return -- go to the patient’s profile
       and put return, and -- yeah, return it. And then I think at the end of --
       I can’t remember all the way how it went, but we returned the
       medication and then at the end of the month, we probably returned
       everything that we didn’t send out back to McKesson, but it went
       through the computer first. When we did the returns, you know, we
       scratched off the patient name and put it back -- return to the shelves,
       the medication.
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 (Id. at PageID. 3745.) Jordan never testified that those prescriptions were placed

 on the push cart. And his testimony suggests that more than one person in the

 pharmacy processed returns. In fact, on cross-examination, Jordan confirmed that

 Abdelrazzaq allowed him to reverse medications. (Id. at PageID. 3754.)

       There was no evidence that Abdelrazzaq was the only individual who

 handled reversals at Wayne Campus, or that he knew the prescriptions for Weaver

 and Higgins, which were filled after they had died, had not been reversed. As the

 PIC at Wayne Campus, Abdelrazzaq may have been the individual ultimately

 responsible for ensuring that the charges were reversed in compliance with

 applicable rules and regulations. But his abdication of that responsibility does not

 render him guilty of health care fraud. As the Court instructed the jury, a violation

 of Medicare and/or Medicaid civil procedures, rules, or regulations is not a crime.

 (ECF No. 289 at PageID. 5129.) As the Court further instructed, to find

 Abdelrazzaq guilty of the individual health care fraud charges, the jury had to find

 that he acted “knowingly and willfully[.]” (ECF No. 289 at PageID. 5128.)

       In short, there was insufficient evidence for the jury to find Abdelrazzaq

 guilty for Counts Seven and Eight. The Court, therefore, is granting Abdelrazzaq’s

 Rule 29 motion for judgment of acquittal with respect to Counts Seven and Eight.




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          The Admission of the Prescription Drug Event (“PDE”) Data
                      and Johanna Sullivan’s Testimony

       Defendants maintain that their Sixth Amendment Confrontation Clause

 rights were violated when Johanna Sullivan was permitted to testify concerning

 inventory shortfalls at the subject pharmacies. Defendants argue that they were

 denied the opportunity to cross-examine the individuals who conducted the

 inventory shortage analyses and authored the reports of the analyses which were

 admitted into evidence. Defendants also argue that the PDE data on which the

 inventory shortage calculations were in part based constituted impermissible

 hearsay, which should not have been admitted into evidence under Federal Rules

 of Evidence 803(6) and 902(11).

       As this Court ruled before trial, and again when hearsay objections were

 made at trial, the PDE data was admissible. (See ECF No. 242 at PageID. 1479-

 83; ECF No. 249 at PageID. 1970.) Defendants do not raise any new arguments to

 require a different outcome. Nor do they raise any new arguments with respect to

 Sullivan’s testimony, which the Court also ruled was admissible. 4 (ECF No. 254 at

 PageID. 2065-67; ECF No. 286 at PageID. 4937.)


 4
   During trial, Abdelrazzaq filed a motion for reconsideration with regards to this
 Court’s ruling regarding Sullivan’s testimony, which the Court denied on the
 record, indicating that a written opinion would follow. (ECF No. 286 at PageID.
 4937.) The Court now realizes that its written decision was never filed, although it
 sees no purpose in filing it at this late juncture given the reasserted arguments
 (cont’d)
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       Sullivan’s personal involvement with pulling the pharmacy data was not

 necessary for the Government to prove that it was what the Government claimed it

 to be, or for Sullivan to testify about her findings from that data. 5 Sullivan testified

 without opposition as an expert, and an expert may base his or her opinion “on

 facts or data in the case that the expert has been made aware of or personally

 observed,” Fed. R. Evid. 703, including “data [presented] to the expert outside of

 court and other than by his [or her] own perception[,] id. Advisory Committee’s

 Note to 1972 Amendment. Pursuant to Rule 703, the data need only be reliable.

 Thus, Sullivan could permissibly rely on the data, even if pulled by others,

 provided the analysis and conclusions she provided in the courtroom were based

 on her personal review of the data.

       Contrary to Defendants’ assertions, Sullivan testified that she was personally

 involved in the invoice reviews that formed the basis for the loss calculations she

 testified to at trial. (ECF No. 249 at PageID. 1998-99; ECF No. 254 at PageID.

 2101.) Sullivan provided that she assessed whether the data populated correctly in

 the “SAS program,” confirmed that information from all the relevant wholesalers

 concerning Sullivan’s testimony in Defendants’ pending motions. In any event,
 the motion for reconsideration was denied because Abdelrazzaq failed to
 demonstrate a palpable defect in the Court’s initial decision, for the reasons stated
 when denying the initial motion, and for the reasons set forth herein.
 5
   Sullivan’s testimony reflects, however, that she was very familiar with the source
 of the data and how it is collected and retrieved. (See ECF No. 249 at PageID.
 1948, 1958-61, 1963-64.)

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 were included, confirmed the appropriate date range was used for the records, and

 made sure the data was calculated correctly in the program. (ECF No. 249 at

 PageID. 1991, 1998-99; ECF No. 254 at PageID. 2100-01.) Sullivan’s testimony

 is not rendered inadmissible simply because she did not manually perform the

 extensive calculations but relied on a reliable software program to do the job. She

 created spreadsheet and invoice review summaries and charts and personally

 evaluated the data to reach the findings which she testified to at trial. (ECF No.

 249 at PageID. 2000-01.) As a result, Sullivan’s testimony is distinct from the

 witnesses whose testimony was excluded or found improperly admitted in the

 cases Defendants cite. See Smith v. Arizona, 602 U.S. 779, 783 (2024) (finding a

 Confrontation Clause violation where the prosecution offered a substitute crime lab

 analyst to testify to an absent analyst’s statements in support of the witness’s

 opinion); Bullcoming v. New Mexico, 564 U.S. 647, 651-52 (2011) (holding that a

 crime lab analyst could not testify as to the “testimonial certification” of another

 analyst who tested the blood-alcohol level of an individual charged with drunk

 driving); Auto Indus. Supplier ESOP v. Ford Motor Co., 435 F. App’x 430 (6th

 Cir. 2011) (excluding expert testimony where the witness’s opinion was not based

 on sufficient facts and data because the expert had no familiarity with the

 underlying source documents); Orthofix Inc. v. Lemanski, No. 13-cv-11421, 2015

 WL 12990115, at *2-3 (E.D. Mich. Sept. 29, 2015) (precluding testimony of

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 damages expert whose conclusions were based on “bad data” in that the plaintiff’s

 damages were overstated by approximately double, as the opinion was, therefore,

 not reliable as required under Federal Rule of Evidence 702).

       For these reasons, the Court finds that neither the Federal Rules of Evidence

 nor the Confrontation Clause were violated as a result of the introduction of the

 PDE data or Sullivan’s testimony.

                                Abdallah’s Testimony

       As a basis for his new trial motion, Hamaed argues that his conviction “rests

 almost exclusively on the testimony of Abdallah, a questionable career criminal

 witness who easily inserted himself into and manipulated the facts of the case to

 secure substantial benefit.” (ECF No. 307 at PageID. 5351.) Hamaed asserts that

 this constitutes substantial legal error. (Id. at PageID. 5350 (citing United States v.

 Lewis, 850 F. Supp. 2d 709, 762 (N.D. Ohio 2012).)

       Abdallah’s testimony, however, was not the exclusive or “almost

 exclusive[]” basis for Hamaed’s conviction. Moreover, Hamaed offers no basis for

 concluding that Abdallah is a “career criminal witness.” The fact that he pleaded

 guilty and agreed to cooperate with the Government in this matter does not render

 his testimony unreliable or its admission “substantial legal error.” See id. at 735

 (observing that, while “the Government has the discretion to give resources and

 immunity to a cooperating witness, . . . the use of such resources does not alone

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 render the witness’s testimony incredible or constitutionally inadmissible”). If this

 were so, every criminal conviction based on the testimony of a cooperating co-

 defendant and/or co-conspirator would be overturned.

       Hamaed offers no argument for why this Court should otherwise find

 Abdallah’s testimony incredible, and this Court does not conclude that he lacked

 credibility. As such, his testimony is not comparable to the witnesses in Lewis

 “who were impeached” and “who collectively presented a narrative that was

 greatly undermined by competent and unimpeached evidence in the record[.]” 850

 F. Supp. 2d at 762.

                                Prejudicial Variance

       Defendants argue that their convictions for conspiracy to commit health care

 fraud and wire fraud (Count One) must be set aside under Rule 29 or Rule 33 due

 to a prejudicial variance. The Indictment charged Defendants, along with Abdallah

 and co-conspirator Balhar Singh, with conspiracy to commit health care fraud and

 wire fraud by submitting and causing the submission of false and fraudulent claims

 to Medicare, Medicaid, and Blue Cross Blue Shield of Michigan (“BCBSM”)

 through the five pharmacies with which one or more of the alleged co-conspirators

 were involved: Eastside Pharmacy, Inc. (“Eastside”), Harper Drugs, Heartland

 Pharmacy LLC (“Heartland”), Heartland Pharmacy 2, LLC (“Heartland 2”), and

 Wayne Campus. (See ECF No. 1.) Rather than proving a single conspiracy to

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 commit health care and/or wire fraud at the five pharmacies, Defendants maintain

 that the evidence proved multiple independent conspiracies.

       “A variance to the indictment occurs when the charging terms of the

 indictment are unchanged, but the evidence at trial proves facts materially different

 from those alleged in the indictment.” United States v. Solorio, 337 F.3d 580, 589

 (6th Cir. 2003) (brackets and emphasis omitted) (quoting United States v.

 Chilingrian, 280 F.3d 704, 711 (6th Cir. 2002)). “A variance will not constitute

 reversible error unless ‘substantial rights’ of the defendant have been affected[.]’”

 Id. at 590 (quoting Chilingrian, 280 F.3d at 712). “[A] substantial right of the

 defendant is violated by a variance ‘only when a defendant proves prejudice to his

 ability to defend himself or to the overall fairness of the trial.’” Id. (quoting United

 States v. Manning, 142 F.3d 336, 339 (6th Cir. 1998)).

       “Whether a single or multiple conspiracies have been shown is usually a

 question of fact to be resolved by the jury” and must be considered “in the light

 most favorable to the government.” United States v. Bailey, 973 F.3d 548, 569

 (6th Cir. 2020) (brackets omitted) (quoting United States v. Smith, 320 F.3d 647,

 652 (6th Cir. 2003)). There are three main considerations when deciding how

 many conspiracies are proven: “the existence of a common scheme, the nature of

 the scheme, and the overlapping of the participants in various dealings.” Id.

 (quoting Smith, 320 F.3d at 652). “To prove a single conspiracy, the government

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 need only show that each alleged conspirator had knowledge of and agreed to

 participate in what he knew to be a collective venture directed toward a common

 goal.” Id. (quoting Smith, 320 F.3d at 653).

          With respect to the first consideration, the evidence revealed a common

 scheme to defraud Medicare, Medicaid, and BCBSM to increase the profits of the

 five pharmacies. Abdallah testified to his discussions with Defendants regarding

 their agreement to commit health care fraud. (See, e.g., ECF No. 266 at PageID.

 3230-31; ECF No. 262 at PageID. 3025-26; ECF No. 266 at PageID. 3180-81,

 3228-29.) Khreizat and Singh also testified about the agreement. (ECF No. 246 at

 PageID. 1633, 1720; ECF No. 260 at PageID. 2687, 2696, 2707-08.)

          As to the nature of the scheme, similar strategies and practices across the

 pharmacies were shown. Specifically, the evidence demonstrated that all five

 pharmacies billed for prescription medications that were not dispensed, including

 by failing to reverse claims for prescriptions not picked up by patients, and billed

 for brand name drugs when generic drugs were instead dispensed. The evidence

 also showed that similar methods were used to further the fraud, such as using the

 same tools to track prescriptions not dispensed, falsifying signature logs, and using

 incentives to encourage patients to continue using the subject pharmacies. In text

 messages, Defendants shared ideas and resources to accomplish and conceal their

 fraud.

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       Lastly, the participants significantly overlapped in various dealings. As the

 table below reflects, with the exception of Abdelrazzaq and Singh, each of the

 indicted co-conspirators held an ownership interest in several of the pharmacies.

 All of the individuals charged in the Indictment, except Singh, held an ownership

 interest in Wayne Campus.

                                                                           Wayne
                     Eastside    Harper    Heartland     Heartland 2
                                                                           Campus
      Abdallah           x          x          x              x              x
       Singh                                                  x
      Hamaed             x          x          x              x               x
      Fakhuri6                      x          x                              x
      Ghussin                                  x              x               x
     Abdelrazzaq                                                              x

 Further, Abdallah and Hamaed were classmates in pharmacy school. Hamaed then

 brought in Fakhuri, his former intern. Fakhuri then brought in Ghussin, his former

 classmate in pharmacy school and former roommate, and Abdelrazzaq.

       The existence of a single conspiracy is not undercut by the fact that all of the

 charged conspirators did not have an ownership interest in or role at all five

 pharmacies. “A single conspiracy is not converted to multiple conspiracies simply

 because it can be subdivided, or because there are changes in the individuals

 involved or the roles that they play in the conspiracy.” United States v. Walls, 293

 F.3d 959, 968 (6th Cir. 2002) (citing United States v. Wilson, 168 F.3d 916, 924


 6
  Fakhuri concealed his ownership in Harper Drugs, Wayne Campus, and
 Heartland through his wife.

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 (6th Cir. 1999); United States v. Rugiero, 20 F.3d 1387, 1391-92 (6th Cir. 1994)).

 “The mere fact that a conspiracy can be subdivided . . . does not mean that multiple

 conspiracies existed.” United States v. Wilson, 168 F.3d 916, 924 (citing Rugiero,

 20 F.3d at 1392). “As long as the different sub-groups are committing acts in

 furtherance of one overall plan, the jury can still find a single, continuing

 conspiracy.” Id. (citations omitted).

       Moreover, each defendant does not need to be involved in every aspect of

 the conspiracy to find a single conspiracy. “[A] single conspiracy is not converted

 into multiple conspiracies merely because there may be some changes in persons

 involved or because they play different roles.” Rugiero, 20 F.3d at 1391 (citing

 United States v. Rios, 842 F.2d 868, 872 (6th Cir. 1988), cert. denied, 488 U.S.

 1031 (1989); United States v. Bates, 600 F.2d 505, 509 (5th Cir. 1979)). “Each

 member of the conspiracy need not be shown to know each other or to have direct

 association with all other conspirators.” Id. (citing United States v. Sanchez, 928

 F.2d 1450, 1457 (6th Cir. 1991)). “A [t]acit or mutual understanding [of the

 conspiracy] and active participation by a defendant in some act or portion of the

 conspiracy is all that is required.” Id. at 1391-92 (citing United States v. Lee, 991

 F.2d 343, 347-48 (6th Cir. 1993)).

       For these reasons, the evidence presented at Defendants’ trial cannot

 reasonably be construed as only supporting a finding of multiple conspiracies. See

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 Walls, 293 F.3d at 967 (citing Lee, 991 F.2d at 349) (explaining that a variance

 occurs if “the evidence can be construed as only supporting a finding of multiple

 conspiracies”). The Court, therefore, declines to interfere with the jury’s

 resolution of this factual question. Moreover, the Sixth Circuit has “repeatedly

 held that, ‘if the government proves multiple conspiracies and a defendant’s

 involvement in at least one of them, then clearly there is no variance affecting that

 defendant’s substantial rights.’” United States v. Matthews, 31 F.4th 436, 455-56

 (6th Cir. 2022) (quoting United States v. Robinson, 547 F.3d 632-642-43 (6th Cir.

 2008)); see also United States v. English, 785 F.3d 1052, 1057 (6th Cir. 2015)

 (same).

                                      Conclusion

       For the reasons stated, the Court concludes that there was sufficient evidence

 presented at trial to support Defendants’ convictions for conspiracy to commit

 health care fraud (Count One) and Fakhuri’s conviction for health care fraud

 (Count Five). The interest of justice does not warrant a new trial with regard to

 those convictions. However, there was insufficient evidence to support

 Abdelrazzaq’s convictions for the health care fraud charged in Counts Seven and

 Eight of the Indictment.

       Accordingly,




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       IT IS ORDERED that Hamaed’s, Fakhuri’s, and Ghussin’s motions for

 judgment of acquittal and/or for new trial (ECF Nos. 302, 303, 305, & 307) are

 DENIED.

       IT IS FURTHER ORDERED that Abdelrazzaq’s motions for judgment of

 acquittal and/or for new trial (ECF Nos. 306, 308) are GRANTED IN PART

 AND DENIED IN PART in that his convictions for health care fraud (Counts

 Seven and Eight), only, are VACATED.

                                             s/ Linda V. Parker
                                             LINDA V. PARKER
                                             U.S. DISTRICT JUDGE
  Dated: December 19, 2024




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